Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.47 Filed 02/04/21 Page 1 of 30




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

HOWARD COHAN,
                                                    Case No. 2:20-cv-10981
      Plaintiff,
                                                    Hon. Nancy G. Edmunds
v.
                                                    Magistrate Anthony P. Patti
MGM HOSPITALITY, INC.,
a Michigan corporation,

      Defendant.


     DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

      Defendant, MGM Hospitality, INC., by and through its attorneys,

GARAN LUCOW MILLER, P.C., moves to dismiss Plaintiff Howard Cohan’s

Complaint pursuant to Federal Rule of Civil Procedure 12(c) and 12(h)(3) on

the ground that Plaintiff fails to allege sufficient facts giving rise to Article III

standing to bring claims challenging wheelchair accessibility at the

Defendant’s premises under the Americans With Disabilities Act. Defendant

further relies upon the authority set forth in the Brief in Support of its Motion

to Dismiss.

      In accordance with Local Rule 7.1(a), there was a conference between

the attorneys for Plaintiff and Defendant on January 22, 2021 and January




                                                                                    1
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.48 Filed 02/04/21 Page 2 of 30




26, 2021 in which the movant explained the nature of the motion and its legal

basis and requested but did not obtain concurrence in the relief sought.

     WHEREFORE, Defendant respectfully requests that this Honorable

Court grant its Motion to Dismiss pursuant to Federal Rule of Civil Procedure

12(c) and 12(h)(3) and enter an order dismissing Plaintiff’s claims with

prejudice.

                                         Respectfully submitted,

                                         GARAN LUCOW MILLER, P.C.

                                         /s/Courtney A. Krause
                                         Courtney A. Krause (P70581)
                                         Attorney for Defendant
                                         1155 Brewery Park Blvd. Ste 200
                                         Detroit    MI    48207
                                         (313) 446-5522
                                         ckrause@garanlucow.com


Dated: February 4, 2021




                                                                            2
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.49 Filed 02/04/21 Page 3 of 30




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

HOWARD COHAN,
                                              Case No. 2:20-cv-10981
     Plaintiff,
                                              Hon. Nancy G. Edmunds
v.
                                              Magistrate Anthony P. Patti
MGM HOSPITALITY, INC.,
a Michigan corporation,

     Defendant.


     BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
            PLAINTIFF HOWARD COHAN’S COMPLAINT




                                                                            3
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.50 Filed 02/04/21 Page 4 of 30




                          TABLE OF CONTENTS

INTRODUCTION…………………………………………………………………4

STATEMENT OF ISSUES PRESENTED………………………………..…….ii

TABLE OF AUTHORITIES…………………………………………….……..…iii

CONTROLLING AUTHORITY…………………………………...…...…….....vi

FACTS AND PROCEDURAL HISTORY……….…………………..…….……6

STANDARD OF REVIEW………………………………………....……..……10

ARGUMENT……………………………………..……..……………………….12

  I. Plaintiff’s complaint should be dismissed when Plaintiff lacks
     standing…………………………………………………………………...14

        a. Plaintiff’s Complaint does not allege injury in fact fairly traceable
           to Defendant’s conduct……………….……………………….….15

        b. Plaintiff cannot establish that there is a reasonable likelihood
           that he will return to the Defendant’s business…..…………....21


REQUESTED RELIEF AND CONCLUSION…………………....……….….23




                                                                               i
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.51 Filed 02/04/21 Page 5 of 30




                STATEMENT OF QUESTION PRESENTED


Should Plaintiff’s Complaint be dismissed for lack of subject matter

jurisdiction because (1) it asserts conclusory allegations and fails to allege

sufficient facts demonstrating that Plaintiff suffered concrete, particularized,

and actual or imminent injury; and (2) it does not allege sufficient facts

demonstrating an intent to return to the premises.


      Defendant answers, “Yes.”




                                                                              ii
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.52 Filed 02/04/21 Page 6 of 30




                        TABLE OF AUTHORITIES
CASES

Ashcroft v Iqbal, 556 U.S. 662, 678 (2009)…………………………………..12

Bell Atl. Corp. v Twombly, 550 U.S. 544, 570 (2007)……………………….12

Carroll v Abide, 788 F.3d 502, 504 (5th Cir. 2015)……………………...…..11

Central States Southeast and Southwest Areas Health and Welfare Fund v
     Merck-Medco Managed Care, L.L.C., 433 F.3d 181, 199 (2nd Cir.
     2005)…………………………………………………………………..…..14

Chapman v Pier1 Imports (U.S.) Inc.,
    631 F.3d 939, 946 (9th Cir. 2011)………………………….….13, 14, 17

City of Los Angeles v Lyons, 461 U.S. 95, 105, 103 S.Ct. 1660,
      75 L.Ed.2d 675 (1983)……..…………………………..…………...15, 21

Cohan v California Pizza Kitchen, Inc.,
    Eastern District of Michigan Case No. 18-cv-12080, 2019 WL
    4189482, (E.D.Mich. Sept. 4, 2019)………………………....4, 9, 19, 20

Cohan v Caribbean Dunes Owners Association, Inc., Case No. 3:14-cv-
    00538-MCR-EMT, (N.D. Fla.)…………………………………………....9

Cohan v TMBC, LLC, Case No. 18-1072-BAJ-EWD,
     2019 WL 2169185 (M.D.La May 17, 2019)…………………..………22

Gates v Black Hills Health Care Sys. (BHHCS),
     997 F.Supp.2d 1024, 1029 (D.S.D. 2014)…………………….....……10

Gentek Bldg. Prods. Inc. v Sherwin-Williams Co., 491 F.3d 320, 330
     (6th Cir. 2007)…………………………………………………………….11

Kennedy v Solano, 735 F.Appx 653, 655-56 (11th Cir. 2018)………....…..22

Lujan v Defenders of Wildlife, 504 U.S. 555, 560,
     112 S. Ct. 2130, 119 L.Ed.2d 351 (1992)…….....12, 14, 15, 16, 18, 21



                                                                          iii
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.53 Filed 02/04/21 Page 7 of 30




Molski v Kahn Winery, 405 F.Supp.2d 1160, 1163-64 (C.D.Cal. 2005)…..21

New v Luckly Brand Dungarees Stores, Inc.,
     51 F.Supp.3d 1284, 1285 (S.D.Fla. 2014)……………………...……..21

O’Shea v Littleton, 414 US 488, 494, 94 S Ct. 669, 38 Led 2d 674
     (1974)……………………………………………………………………...15

Pickern v Holiday Quality Foods, Inc., 293 F.3d 1133, 1138
     (9th Cir. 2002)…................................................................................21

Rogers v Stratton Indus., Inc., 798 F.2 913, 915 (6th Cir. 1986)………..…12

Ross v City of Gatlinburg TN, 327 F.Supp.2d 834, 841-842
      (E.D.Tenn. 2003)………………………………………………………..15

Shotz v Cates, 256 F.3d 1077, 1081 (11th Cir. 2001)………………….…..21

Sierra Club v Morton, 405 U.S. 727, 740, 92 S.Ct. 1361,
      31 L.Ed.2d 636 (1972)…………………………………………………..16

Spokeo v Robins,136 S.Ct. 1540, 194 L.Ed.2d 635 (2016)……...…5, 15, 16

Steel Co. v Citizens for Better Environment, 523 U.S. 83, 103 (1998)……15

Strojnik v BW RRI II, LLC, No. 20-cv-03142-AGT, 2020 WL 5210897
      (N.D.Cal. Sept. 1, 2020)………………………………………….…22, 23

Strojnik v Village 1017 Coronado, Inc., Case No. 19-cv-02210-BAS-MSB,
      2020 WL 3250608 (S.D. Cal. June 16, 2020)…………………………19

United States v Ritchie, 15 F.3d 592, 598 (6th Cir. 1994)…………..….…..11

RULES AND STATUTES

FRCP 12…………… …………………………...…….…….......…...1, 5, 10, 11

42 U.S.C. §§12181 et seq………………………………...……………..….4, 13

28 CFR Part 36……………………………………………………………..…4, 8

                                                                                                     iv
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.54 Filed 02/04/21 Page 8 of 30




SECONDARY SOURCES

5 Charles A. Wright & Arthur R. Miller,
     Federal Practice and Procedure, § 1350 (3d ed.2004)…………..…11




                                                                           v
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.55 Filed 02/04/21 Page 9 of 30




                        CONTROLLING AUTHORITY

      Defendant relies upon Federal Rule of Civil Procedure 12(c) and

12(h)(3) in addition to the statutes and case law set forth in the following brief

as the controlling authority in support of its Motion to Dismiss.




                                                                                vi
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.56 Filed 02/04/21 Page 10 of 30




                                     INTRODUCTION

       Plaintiff Howard Cohan filed the instant action in the Eastern District of

Michigan on April 21, 2020, one of two thousand, three hundred and ninety

(2,390) lawsuits Plaintiff has filed in federal courts across the County to date1

alleging discrimination as the result of alleged barriers to wheelchair

accessibility in violation of Title III of the Americans with Disabilities Act

(“ADA”) of 1990, 42 U.S.C. §§12181 et seq. and its implementing regulation,

28 C.F.R. Part 36. (ECF No. 1 at PageID 1). However, Plaintiff does not

have standing to advance his claims under the ADA when: (1) Plaintiff cannot

establish injury in fact as a result of Defendant’s alleged failure to comply

with ADA guidelines governing wheelchair accessibility when Plaintiff does

not use a wheelchair, and (2) Plaintiff cannot show that there is a likelihood

of future injury when Plaintiff is a Florida resident and does not assert any

concrete plans to return to Defendant’s restaurant in Livonia, Michigan in the

future. This finding is consistent with this Court’s 2019 decision in Howard

Cohan v California Pizza Kitchen, Inc., Eastern District of Michigan Case No.

18-cv-12080. In an opinion and order granting the Defendant’s Motion to



1
  See https://pcl.uscourts.gov/pcl/index.jsf (nationwide search for civil cases filed under the
Americans with Disabilities Act (non-employment related) identifying Howard Cohan as the
Plaintiff as of January 27, 2021). Matters of public record may be considered by the Court in
ruling on a motion to dismiss. Commercial Money Ctr., Inc. v Ill. Union Ins. Co., 508 F.3d 327,
336 (6th Cirl. 2007).
                                                                                                  4
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.57 Filed 02/04/21 Page 11 of 30




Dismiss concerning another ADA Complaint filed by Howard Cohan, the

Honorable Victoria A. Roberts found that Plaintiff lacked standing to bring a

disability discrimination claim related to alleged architectural barriers when

Plaintiff did not use a wheelchair, and did not allege in his Complaint that he

required the use of a wheelchair at the time of his visit to the Defendant’s

premises. The instant action involves a Complaint nearly identical to the

Complaint filed by Plaintiff in Case No. 18-cv-12080, and the same

disposition is warranted.

      There is no case or controversy as contemplated in the United States

Constitution to allow Plaintiff to proceed with this action. Plaintiff’s Complaint

is completely devoid of any facts supporting a finding that Plaintiff personally

encountered any barrier that is related to Plaintiff’s disability, or that the

alleged barriers to wheelchair accessibility deprived Plaintiff himself of full

and equal access to the Defendant’s goods and services. As a result,

Plaintiff’s Complaint does not contain the facts necessary to establish that

Plaintiff suffered an injury-in-fact traceable to the Defendant’s conduct

necessary to support standing. See, Spokeo v Robins, ____ U.S. ____136

S.Ct. 1540, 194 L.Ed.2d 635 (2016). Defendant requests that this Court

grant its motion to dismiss, dismissing this action pursuant to Federal Rule

of Civil Procedure 12(c) and (h)(3).


                                                                                 5
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.58 Filed 02/04/21 Page 12 of 30




                                    FACTS

      Plaintiff alleges that he is a resident of Palm Beach, Florida, yet

traveled 1,320 miles from Palm Beach to the Defendant’s Grand Tavern

restaurant at 37714 West 6 Mile Road in Livonia on March 23, 2018 and May

21, 2019. (ECF No. 1 at PageID 2, 5, ¶¶ 3-5, 25). According to Eastern

District of Michigan electronic filing records, on March 23, 2018, Plaintiff also

visited LVJ, Inc., d/b/a Leo’s Coney Island (Case No. 20-10981); CVS (Case

No. 18-13398); Laurel Park Mall (Case No. 18-13397); Macaroni Grill (Case

No. 18-12087); Courtyard by Marriott (Case No. 18-13394); Town Place

Suites (Case No. 18-13396), and the Residence Inn (Case No. 19-10793.)

During the week of March 20, 2018 alone, Plaintiff visited at least seventeen

additional southeastern Michigan businesses that became the target of

lawsuits, including California Pizza Kitchen (Case No. 18-12080); Best Buy

(Case No. 18-11641); Aldi’s (Case No. 18-12078); At Home Store (Case No.

18-12079); REI (Case No. 18-12086); Red Lobster (Case No. 18-12085);

Deluth Holdings (Case No. 18-12084); Dick’s Sporting Goods (Case No. 18-

12081); Genji Novi (Case No. 19-10786); Olive Garden (Case No. 19-

10787); Bob Evans (Case No. 19-10788); Twelve Oaks Mall (Case No. 19-

10789); Staybridge Suites (Case No. 19-10790); Renaissance Novi/Hotel

Baronette (Case No. 19-10794); Novi Sheraton Case No. 19-10792);


                                                                                6
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.59 Filed 02/04/21 Page 13 of 30




Bonefish Grill (Case No. 19-11031); and Four Points Sheraton (Case No. 19-

11892). In total, over the course of four days, Plaintiff allegedly patronized

nine retail establishments, seven hotels, and seven restaurants. The number

of businesses that Plaintiff has visited over such a short time period suggests

that Plaintiff is only visiting businesses for the purpose of advancing litigation,

not to dine or otherwise enjoy services, goods and amenities. (ECF No. 1 at

Page ID 3, ¶12).

      During each of these visits, including his visit to Defendant’s Grand

Tavern restaurant, Plaintiff claims that he “personally encountered

architectural barriers” to wheelchair accessibility and “[t]hese barriers cause

Plaintiff difficulty in safely using each element of the Facility, requiring extra

care due to concerns for safety and a fear of aggravating his injuries.” (ECF

No. 1 at Page ID 3, 8, ¶¶ 13, 26). These alleged barriers include (1) improper

opening pressure on the “gate or door,” maneuvering clearances at the

entrance of Defendant’s premises and failure to provide “operable parts”; (2)

improperly positioned water closet, grab bars, countertops, toilet paper

dispensers, and soap dispensers; (3) improper counter heights in the bar;

not providing accessible seating in the bar; providing pathways that are too

steep; and providing seating with the incorrect clear floor space for forward

approach; (ECF No. 1 at Page ID 5-8, ¶ 25). Plaintiff alleges that the


                                                                                  7
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.60 Filed 02/04/21 Page 14 of 30




aforementioned architectural barriers constitute a violation of the 2010 ADA

Standards for Accessible Design, although Plaintiff does not allege any facts

tending to support his conclusion that the 2010 Standards apply to

Defendant’s restaurant.2 (ECF No. 1 at Page ID 5, ¶ 23).

      While the complaint alleges that Plaintiff “suffered from a qualified

disability,” the extent of Plaintiff’s physical limitations attributed to this

disability is not clear. (ECF No. 1 at Page ID 2, ¶ 8). For example, despite

challenging the wheelchair accessibility of Defendant’s restaurant, there is

no allegation in Plaintiff’s Complaint that Plaintiff required the use of a

wheelchair at the time of his visit to Defendant’s premises, and Plaintiff has

previously admitted in sworn deposition testimony taken in another suit that

he does not require the use of a wheelchair:

      Q:     All right. Have you ever had to be in a wheelchair at

             all?

      A:     Other than surgeries, no.

      Q:     You don’t have any sort of wheelchair or cart or

             anything like that for your daily living, correct?

      A:     No.

2Public accommodations that were newly constructed or altered after January 26, 1993,
but before September 15, 2010, need only comply with the 1991 Standards. 28 C.F.R. §
36.406(a) app.

                                                                                   8
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.61 Filed 02/04/21 Page 15 of 30




(Ex. A- Deposition Transcript 15:9-14, Cohan v Caribbean Dunes Owners

Association, Inc., Case No. 3:14-cv-00538-MCR-EMT, (N.D. Fla.)]. See also,

Cohan v California Pizza Kitchen, Inc., No. 18-cv-12080, 2019 WL 4189482,

*3 (E.D.Mich. Sept. 4, 2019) (noting that “Cohan concedes he does not use

a wheelchair and was not using one when he visited CPK” and “the barriers

identified in the complaint would only impact access to a disabled person in

a wheelchair…”). (Attached as Ex. B). Instead, Plaintiff refers to himself as

an individual with a disability due to spine, knee, and shoulder issues, and

arthritis in his left thumb. (ECF No. 1 at Page ID 2, § 7). Plaintiff relies solely

on conclusory allegations, and does not state any facts describing how these

alleged barriers in the complaint limited his access to the Defendant’s

premises. This pleading deficiency is dispositive to the instant action

because the alleged barriers to accessibility that Plaintiff supposedly

encountered on the Defendant’s premises, assuming they exist, would only

impair the accessibility of the space to someone in a wheelchair. Indeed, the

Plaintiff’s Complaint is absolutely devoid of any factual support for a finding

that Plaintiff himself encountered barriers at Defendant’s facility, or tending

to suggest that Plaintiff himself was denied “full and equal access to the

goods and serves Defendant offers to non-disabled individuals.” (ECF No. 1

at PageID 8, ¶ 28).


                                                                                 9
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.62 Filed 02/04/21 Page 16 of 30




      The allegations in the Plaintiff’s Complaint are also insufficient to

establish the likelihood of future harm. Although Plaintiff lives 1,300 miles

away, Plaintiff includes a conclusory statement in this complaint that he

“would return to the Facility….but he is deterred from returning due to the

barriers and discriminatory effects of Defendant’s policies and procedures at

the facility.” (ECF No. 1 at PageID 3, ¶ 14). Plaintiff otherwise does not state

that he has concrete plans to travel to Defendant’s Grand Tavern restaurant

in Livonia for reasons unrelated to this litigation. (ECF No. 1 at PageID 4,

¶16). Such allegations are insufficient to establish standing to asset a claim

for disability discrimination under the Americans with Disabilities Act

                          STANDARD OF REVIEW

      Defendant brings the current motion pursuant to Federal Rule of Civil

Procedure 12(c) and 12(h)(3). Rule 12(h)(3) of the Federal Rules of Civil

Procedure provides that, if a court “determines at any time that it lacks

subject-matter jurisdiction, the court must dismiss the action.” Fed.R.Civ.P.

12(h)(3). A Rule 12(h)(3) motion to dismiss is analyzed under the same

standards as a Rule 12(b)(1) motion to dismiss for lack of subject matter

jurisdiction. Gates v Black Hills Health Care Sys. (BHHCS), 997 F.Supp.2d

1024, 1029 (D.S.D. 2014). A Rule 12(h)(3) motion differs from a Rule

12(b)(1) motion only in that it can be brought at any time, by any party or


                                                                              10
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.63 Filed 02/04/21 Page 17 of 30




interested individual, or considered sua sponte by the court. 5B Charles Ann

Wright et al., Federal Practice & Procedure § 1350 (3d ed.). In determining

its jurisdiction, the Court may consider “(1) the complaint alone, (2) the

complaint supplemented by undisputed facts evidenced in the record, or (3)

the complaint supplemented by undisputed facts plus the [C]ourt’s resolution

of disputed facts.” Carroll v Abide, 788 F.3d 502, 504 (5th Cir. 2015)(citation

omitted).

      The Sixth Circuit recognizes two types of motions to dismiss for lack of

standing pursuant to Rule 12(b)(1): a facial attack and a factual attack.

United States v Ritchie, 15 F.3d 592, 598 (6th Cir. 1994). A factual attack

challenges the existence of subject matter jurisdiction in fact, irrespective of

the pleadings, whereas in a facial attack the court examines whether the

complaint has sufficiently alleged subject matter jurisdiction. Gentek Bldg.

Prods. Inc. v Sherwin-Williams Co., 491 F.3d 320, 330 (6th Cir. 2007). In a

factual challenge to subject matter jurisdiction, no “presumptive truthfulness”

applies to the allegations, and the Court may consider extrinsic evidence

such as deposition testimony and “has wide discretion” to resolve

jurisdictional facts, including conducting a limited evidentiary hearing. Id.




                                                                                11
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.64 Filed 02/04/21 Page 18 of 30




      For both a facial and factual motion to dismiss, “the plaintiff has the

burden of proving jurisdiction in order to survive the motion.” Rogers v

Stratton Indus., Inc., 798 F.2 913, 915 (6th Cir. 1986) (emphasis omitted).

Furthermore, the factual allegations in a Plaintiff’s complaint “must state a

claim to relief that is plausible on its face.” Bell Atl. Corp. v Twombly, 550

U.S. 544, 570 (2007). In making this plausibility determination, the Court

must accept the factual allegations as true; however, this “tenet…is

inapplicable to legal conclusions.” Ashcroft v Iqbal, 556 U.S. 662, 678 (2009).

A pleading that offers mere “labels and conclusions” is therefore insufficient.

Twombly, 550 U.S. at 555.

      Defendant MGM Hospitality, Inc. is requesting that the Court consider

a factual challenge to jurisdiction because the allegations in Plaintiff’s

Complaint fail to (1) adequately allege an injury-in-fact as required to confer

Plaintiff standing under Article III; and (2) adequately allege standing to seek

injunctive relief, the only remedy available to Plaintiff under the ADA. (ECF

No. 1 at PageID 4).

                                 ARGUMENT

      Title III of the ADA prohibits discrimination on the basis of disability in

places of public accommodation. Lujan v Defenders of Wildlife, 504 U.S. 555,

560-61 (1992). Title III of the ADA authorizes injunctive relief but not money


                                                                               12
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.65 Filed 02/04/21 Page 19 of 30




damages for past harms. 42 U.S.C. § 12188(a). Discrimination under Title III

includes: “a failure to remove architectural barriers, and communication

barriers that are structural in nature, in existing facilities;” “a failure to design

and construct facilities…that are readily accessible to and usable by

individuals with disabilities;” and “a failure to make alterations in such a

manner that, to the maximum extent feasible, the altered portions of the

facility are readily accessible to and usable by individuals with disabilities.”

42 U.S.C. §§ 12182(b)(2)(A)(iv), 12183(a). The statutory language suggests

that injunctive relief under Title III of the ADA is available to “any person who

is being subjected to discrimination on the basis of disability” or who has

“reasonable grounds for believing that such person is about to be subjected

to discrimination.” 42 U.S.C. § 12188(a)(1). By employing the phrases ‘is

being subjected to’ and ‘is about to be subjected to,’ the statute makes clear

that only those individuals with disabilities that are personally impacted by

an alleged architectural barrier may pursue available remedies under the

ADA. “[A]n ADA plaintiff can establish standing to sue for injunctive relief

either by demonstrating deterrence, or by demonstrating injury-in-fact-

coupled with an intent to return to a noncompliant facility.” Chapman v Pier

1 Imports (U.S.) Inc., 631 F.3d 939, 944 (9th Cir. 2011).




                                                                                  13
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.66 Filed 02/04/21 Page 20 of 30




   There is no dispute in this action that Defendant owns and operates MGM

Hospitality, Inc., doing business as The Grand Tavern, a place of public

accommodation. What remains in dispute is whether an individual that did

not rely upon a wheelchair at the time of his alleged visit to the Defendant’s

premises, with no concrete plans to return in the future, has established the

requisite    injury-in-fact   to   enforce   guidelines   governing   wheelchair

accessibility under the ADA.

   I.       PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED WHEN THE
            PLAINTIFF LACKS STANDING.

        Standing is an Article III principle: without standing, a federal court

cannot exercise jurisdiction because there is no case or controversy. Lujan

v Defenders of Wildlife, 504 U.S. 555, 560, 112 S. Ct. 2130, 119 L.Ed.2d 351

(1992). If a Plaintiff lacks Article III standing, a court has no subject matter

jurisdiction to hear the claim. Central States Southeast and Southwest Areas

Health and Welfare Fund v Merck-Medco Managed Care, L.L.C., 433 F.3d

181, 199 (2nd Cir. 2005). Thus, challenges to the court’s subject matter

jurisdiction must be addressed before any other issues. “[T]o invoke the

jurisdiction of the federal courts, a disabled individual claiming discrimination

must satisfy the case or controversy requirement of Article III by

demonstrating his standing to sue at each stage of the litigation.” Chapman

v Pier1 Imports (U.S.) Inc., 631 F.3d at 946 (9th Cir. 2011)(en banc). Plaintiff
                                                                               14
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.67 Filed 02/04/21 Page 21 of 30




is required to establish a personal stake in the dispute which means the

alleged injury must affect the plaintiff in a personal and individual way. Ross

v City of Gatlinburg TN, 327 F.Supp.2d 834, 841-842 (E.D.Tenn. 2003). In

other words, the party invoking federal jurisdiction must show that he has

personally suffered from an actual injury or is in immediate danger of

sustaining such an injury in fact as a result of the allegedly illegal conduct of

the defendant. Lujan, supra at 560-61; O’Shea v Littleton, 414 US 488, 494,

94 S Ct. 669, 38 Led 2d 674 (1974). When a party asks for injunctive relief,

standing depends on whether the plaintiff is likely to be injured by the same

allegedly offending conduct in the future. City of Los Angeles v Lyons, 461

U.S. 95, 105, 103 S.Ct. 1660, 75 L.Ed.2d 675 (1983).

      To establish standing, Plaintiff must “clearly allege” sufficient facts to

satisfy three elements: (1) he suffered an injury-in-fact, (2) that is fairly

traceable to the Defendant’s conduct, and (3) that is likely to be redressed

by a favorable decision. Spokeo v Robins, 136 S.Ct. 1540, 1548 (2016)

(quoting Lujan, 504 U.S. at 560). Plaintiff has failed to alleged sufficient facts

to establish an injury in fact fairly traceable to the Defendant in this action.

      A. Plaintiff’s Complaint does not allege injury in fact fairly
         traceable to the Defendant’s conduct to establish standing.

      Injury-in-fact is the “first and foremost” of the elements Plaintiff must

satisfy to establish standing. Steel Co. v Citizens for Better Environment, 523
                                                                                   15
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.68 Filed 02/04/21 Page 22 of 30




U.S. 83, 103 (1998). In order to demonstrate an injury in fact, Plaintiff must

set forth sufficient facts to support a finding that he “suffered ‘an invasion of

a legally protected interest’ that is ‘concrete and particularized’ and ‘actual

or imminent, not conjectural or hypothetical.’” Spokeo, 136 S. Ct. at 1548

(quoting Lujan, 504 U.S. at 560). Not only must Plaintiff’s injury be “real,” but

it also must affect him in some “personal and individual way.” Lujan, 504 U.S.

at 560, 112 S.Ct. 2130 n. 1. Therefore, “a party seeking review must allege

facts showing that he is himself adversely affected.” Sierra Club v Morton,

405 U.S. 727, 740, 92 S.Ct. 1361, 31 L.Ed.2d 636 (1972).

      Plaintiff Howard Cohan’s Complaint alleges that “he personally

encountered” architectural barriers to accessibility on the Defendant’s

premises on March 23, 2018 and May 21, 2019, but does not state how these

alleged barriers personally affected his disability, if at all. (ECF No. 1 at

PageID 3, ¶ 13). Plaintiff states:

       Architectural barriers exist which denied Plaintiff full and equal

         access to the goods and services Defendant offers to non-disabled

         individuals. (ECF No. 1 at PageID 5, ¶ 24).

       Plaintiff personally encountered architectural barriers on March 23,

         2018, and again on May 21, 2019, at the Facility located at 37714

         Six Mile Rd., Livonia, MI 48152. (ECF No. 1 at PageID 5, ¶ 25).

                                                                               16
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.69 Filed 02/04/21 Page 23 of 30




       These barriers cause Plaintiff difficulty in safely using each element

         of the Facility, requiring extra care due to concerns for safety and a

         fear of aggravating his injuries. (ECF No. 1 at PageID 8, ¶ 26).

       Defendant’s failure to remove these architectural barriers denies

         Plaintiff full and equal access to the Facility in violation of 42 U.S.C.

         § 12182(b)(2)(A)(iv). (ECF No. 1 at PageID 8, ¶ 28).

       Defendant has discriminated and continues to discriminate against

         Plaintiff (and others who are similarly situated) by denying access

         to full and equal enjoyment of goods, services, facilities, privileges,

         advantages, or accommodations located at the Facility due to the

         barriers and other violations listed in this Complaint. (ECF No. 1 at

         PageID 9, ¶ 30).

      Although Plaintiff may have “encountered” an alleged barrier, this

allegation alone is insufficient to establish standing. As stated by the Ninth

Circuit in Chapman v Pier1 Imports, once a disabled Plaintiff has

encountered a barrier violating the ADA, “that Plaintiff will have a ‘personal

stake in the outcome of the controversy’ so long as this or her suit is limited

to barriers related to that person’s particular disability.” Chapman, 631 F.3d

at 947 (emphasis added). This requirement is consistent with Article III’s

requirement that a plaintiff’s injury be “concrete and particularized,” “actual

                                                                                17
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.70 Filed 02/04/21 Page 24 of 30




or imminent,” and not “hypothetical,” that that it “affect the plaintiff in a

personal and individual way.” Lujan, 504 U.S. at 561 & n.1, 112 S.Ct. 2130.

      In conflict with this mandate, Plaintiff does not cite any specific facts

detailing how the alleged barriers on Defendant’s premises caused him

safety concerns, unnecessary pain, impacted Plaintiff’s ability to ambulate

throughout the facility, or take advantage of goods and services. This issue

is dispositive to the Court’s analysis on standing because Plaintiff cites 2010

ADA Standards of Accessible Design in his complaint that pertain to

wheelchair accessibility intended to ensure that wheelchair bound individuals

have equal access to public accommodations. Plaintiff does not allege in his

complaint that he uses a wheelchair, or was dependent upon the use of a

wheelchair for accessibility at the time he visited the Defendant’s premises.

On the contrary, Plaintiff testified in a similar case that he did not require the

use of a wheelchair. (Ex. A). While Plaintiff’s Complaint alleges that Plaintiff

requires the occasional use of mobility aids, he has not alleged that he used

a mobility aid when he visited the Defendant’s premises or would likely need

to on a future visit. (ECF No. 1 at PageID 3, ¶ 9). Since the alleged barriers

on the Defendant’s premises would only compromise the accessibility of the

space to someone in a wheelchair, and not someone like the Plaintiff that is

able to ambulate without a wheelchair, Plaintiff has not pled sufficient facts


                                                                                18
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.71 Filed 02/04/21 Page 25 of 30




to show injury-in-fact. See Strojnik v Village 1017 Coronado, Inc., Case No.

19-cv-02210-BAS-MSB, 2020 WL 3250608 (S.D. Cal. June 16, 2020) (serial

Plaintiff did not have standing to advance ADA claims when he did not allege

that he requires the assistance of a wheelchair or that he required the

assistance of a wheelchair at the time of his visit to Defendant’s hotel) (Ex.

C).

      The above analysis is consistent with the findings of this Court in a

nearly identical suit filed by Plaintiff against California Pizza Kitchen after

Plaintiff allegedly visited this restaurant the same week that he patronized

the Defendant’s premises. (Ex. B- Cohen v California Pizza Kitchen, Case

No. 18-cv-12080-VAR, 2019 WL 4189482 (E.D.Mich. Sept. 4, 2019). In an

Amended Complaint, Plaintiff alleged that he is a person with a disability due

to spine, knee, thumb and shoulder issues, and that he encountered

architectural barriers in the bathroom and seating area of California Pizza

Kitchen that denied him access and full enjoyment of the restaurant. Plaintiff

further claimed that he occasionally used “mobility aids,” although there was

no corresponding allegation in the Amended Complaint that he relied upon

or used a mobility aid at the time of his visit to California Pizza Kitchen. These

allegations are identical to those contained in the Plaintiff’s suit in the instant

action. (See, ECF No. 1 at Page ID 2, ¶9).


                                                                                 19
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.72 Filed 02/04/21 Page 26 of 30




      Defendant California Pizza Kitchen filed a Motion to Dismiss Plaintiff’s

Amended Complaint pursuant to Federal Rule of Civil Procedure 12(h)(3),

(12)(b)(1) and 12(b)(6). In the Opinion and Order granting Defendant’s

Motion to Dismiss, Judge Victoria Roberts found that Plaintiff lacked standing

to bring a disability discrimination claim related to alleged architectural

barriers because he did not require the use of a wheelchair, and otherwise

did not include sufficient facts in his Amended Complaint detailing how the

alleged barriers personally affected Plaintiff. (Ex. B- Cohen v California Pizza

Kitchen, Case No. 18-cv-12080-VAR, 2019 WL 4189482 (E.D.Mich. Sept. 4,

2019). Judge Roberts further held that Plaintiff could not use his claimed

status as an “ADA Tester” to satisfy the standing requirement when he would

not have standing otherwise. Id. at *5.

      The Court’s analysis in Cohen v California Pizza Kitchen is applicable

the instant action when Plaintiff has relied upon the same allegations that the

Court has previously found to be insufficient to establish standing. Plaintiff

does not set forth facts to support a finding that he has suffered an injury in

fact fairly traceable to the Defendant’s conduct. Plaintiff only acts as a

“tester,” or a person that seeks out alleged violations that have no

relationship to a claimed disability. As a result, Plaintiff’s Complaint should

be dismissed for lack of standing.


                                                                              20
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.73 Filed 02/04/21 Page 27 of 30




      B. Plaintiff lacks standing when he cannot establish that there is
         a reasonable likelihood that he will return to the Defendant’s
         business.

      Plaintiff has also failed to sufficiently show a genuine intent to return to

the Defendant’s restaurant and, as such, he fails to allege a real and

immediate threat of repeated injury. A Plaintiff that encounters architectural

barriers at public accommodations only has standing to bring claims

requesting injunctive relief if the Plaintiff shows a plausible intention or desire

to return to the place but for the barriers to access. Pickern v Holiday Quality

Foods, Inc., 293 F.3d 1133, 1138 (9th Cir. 2002); Shotz v Cates, 256 F.3d

1077, 1081 (11th Cir. 2001). Intent to return to the place of injury “someday”

is insufficient to support a claim. Lujan, 504 U.S. at 564, 112 S.Ct. 2130

(“[s]uch ‘someday’ intentions- without any description of concrete plans, or

indeed even any specification of when the someday will be- do not support

a finding of the ‘actual or imminent’ injury that our cases require.”) Indeed,

courts routinely reject vague and conclusory “plan of return” allegations and

a past injury will not do. City of Los Angeles v Lyons, 461 U.S. 95, 111, 103

S.Ct. 1660, 75 L.Ed.2d 675 (1983). See, New v Luckly Brand Dungarees

Stores, Inc., 51 F.Supp.3d 1284, 1285 (S.D.Fla. 2014) (dismissing complaint

that did not contain any allegations that plaintiff frequently shopping at the

Defendant’s property); Molski v Kahn Winery, 405 F.Supp.2d 1160, 1163-64


                                                                                 21
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.74 Filed 02/04/21 Page 28 of 30




(C.D.Cal. 2005) (one visit and lack of past patronage negates the possibility

of future injury at Defendant’s location); Kennedy v Solano, 735 F.Appx 653,

655-56 (11th Cir. 2018)(per curiam) (Plaintiff was not entitled to injunctive

relief under the ADA when she lived 170 miles away from the Defendant-

restaurant and only visited the Defendant’s business once before filing suit);

Cohan v TMBC, LLC, Case No. 18-1072-BAJ-EWD, 2019 WL 2169185

(M.D.La May 17, 2019) (finding that Plaintiff was not entitled to injunctive

relief for alleged barriers at a Cabela’s store located 800 miles from his

home) (Ex. D).

      Plaintiff does not allege any facts in his Complaint suggesting that he

has a genuine, concrete plans to return to the Defendant’s facility sufficient

to establish standing. There is no plausible way that Plaintiff could assert

these allegations in good faith: he lives 1,300 miles away. The barriers to

accessibility at the Defendant’s restaurant, assuming they exist, would not

impact Plaintiff from this distance. Moreover, Plaintiff is unlikely to travel the

1,300 miles from Palm Beach, Florida to Livonia, Michigan for the purpose

of dining at Defendant’s restaurant. Plaintiff alleges in his Complaint that he

visited Defendant’s restaurant only twice prior to filing his Complaint. (ECF

No. 1 at PageID 5, ¶ 25). Plaintiff’s litigious history casts further doubt on his

intent to return. See, e.g., Strojnik v BW RRI II, LLC, No. 20-cv-03142-AGT,


                                                                                22
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.75 Filed 02/04/21 Page 29 of 30




2020 WL 5210897, at *2 (N.D.Cal. Sept. 1, 2020) (“Given the volume of

cases Strojnik has filed (numbering in the thousands according to the

Arizona Bar), and his litigation practices, there is reason to doubt the veracity

of his averment that he intends to visit the [defendant’s hotel] after the hotel’s

accessibility barriers are removed. More likely is that he will try to obtain a

monetary settlement and move on.”) (Ex. E). Plaintiff’s Complaint in this

action only makes a single allegation that Plaintiff intends to return to the

Defendant’s premises in the future and this conclusory claim is insufficient to

establish standing.

                 CONCLUSION AND REQUESTED RELIEF

      For the reasons set forth above, Defendant MGM Hospitality, Inc.

respectfully request that this Honorable Court Grant its Motion to Dismiss,

finding that Plaintiff Howard lacks standing to bring this action, and enter an

Order Dismissing Plaintiff’s Complaint with prejudice, in its entirety.

                                            Respectfully submitted,

                                            GARAN LUCOW MILLER, P.C.

                                            /s/Courtney A. Krause
                                            Courtney A. Krause
                                            Attorney for Defendant
                                            1155 Brewery Park Blvd. Ste 200
                                            Detroit    MI    48207
                                            (313) 446-5522
                                            ckrause@garanlucow.com
Dated: February 4, 2021                     P70581
                                                                                23
Case 2:20-cv-10981-NGE-APP ECF No. 12, PageID.76 Filed 02/04/21 Page 30 of 30




                          CERTIFICATE OF SERVICE

      I hereby certify that on February 4, 2021, I electronically filed

Defendant’s Motion to Dismiss, corresponding brief and exhibits with the

Clerk of the Court using the ECF system, which will provide notice to all

registered ECF participants.

                                         Respectfully submitted,

                                         GARAN LUCOW MILLER, P.C.

                                         /s/Courtney A. Krause
                                         Courtney A. Krause
                                         Attorney for Defendant Avalon
                                         1155 Brewery Park Blvd. Ste 200
                                         Detroit    MI    48207
                                         (313) 446-5522
                                         ckrause@garanlucow.com
                                         P70581

Dated: February 4, 2021




                                                                          24
